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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN

    BRIAN TARKENTON,

          Plaintiff,                                                           ORDER
    v.
                                                                     Case No. 21-cv-684-wmc
    DANE CO. SHERIFF – UW HEALTH
    SYSTEM, et al

          Defendants.


         Plaintiff Brian Tarkenton a prisoner in the custody of the Department of Corrections,

has submitted a proposed complaint and has paid the $402 filing fee. 1 Because plaintiff is a

prisoner, plaintiff is subject to the Prison Litigation Reform Act, which requires the court to

screen the complaint to determine whether any portion is frivolous or malicious, fails to state

a claim on which relief may be granted or seeks monetary relief from a defendant who is

immune from such relief.

         Accordingly, IT IS ORDERED that plaintiff Brian Tarkenton’s complaint is taken

under advisement pursuant to 28 U.S.C. § 1915A. Plaintiff will be notified promptly when

such a decision has been made. In the meantime, if plaintiff needs to communicate with the

court about this case, plaintiff should be sure to write the case number shown above on any

communication.


                 Entered this 1st day of November, 2021.

                                        BY THE COURT:


                                        /s/
                                        PETER OPPENEER
                                        Magistrate Judge

1
 Effective December 1, 2020, the total filing fee for a civil action is $402 (the $350 statutory fee plus
the $52 miscellaneous administrative fee).
